Case 2:23-cr-00197-JS-AYS         Document 92-3       Filed 08/02/24           Page 1 of 5 PageID #:
                                           1509

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RCH                                                 610 Federal Plaza
F. #2022R01030                                      Central Islip, New York 11722




                                                    April 11, 2024


By Email

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                Re:   United States v. George Santos
                      Criminal Docket No. 23-197 (S-1) (JS) (AYS)

Dear Counsel:

               In an abundance of caution, the government writes to advise you that it intends to
introduce, among other things, evidence of the following facts and circumstances as direct
evidence of the charged crimes, evidence of other acts inextricably intertwined with evidence of
the charged crimes, and, in the alternative, evidence admissible pursuant to Federal Rule of
Evidence 404(b):

          On numerous occasions, including, but not limited to, on the website of his
           congressional campaign as of October 2021, in a resume to the Nassau County
           Republican Committee and the National Republican Congressional Committee, and
           during a media interview on or about October 27, 2020, the defendant falsely claimed
           to have graduated from Baruch College. To the extent that this evidence is admitted
           under Rule 404(b), it will be admitted for the purpose of establishing the defendant’s
           motive, intent, plan, knowledge, absence of mistake, or lack of accident in furtherance
           of the Party Program Scheme and filing materially false and fraudulent Financial
           Disclosure Reports with the U.S. House of Representatives in 2020 and 2022, as
Case 2:23-cr-00197-JS-AYS        Document 92-3        Filed 08/02/24     Page 2 of 5 PageID #:
                                          1510



          charged in the superseding indictment. In particular, the government avers that the
          defendant’s false representation was designed, in part, to perpetuate misrepresentations
          about his personal background, professional background and financial profile.

         On numerous occasions, including, but not limited to, on the website of his
          congressional campaign as of October 2021, in a resume to the Nassau County
          Republican Committee and the National Republican Congressional Committee, and
          during a media interview on or about October 29, 2020, the defendant falsely claimed
          to have graduated from New York University. To the extent that this evidence is
          admitted under Rule 404(b), it will be admitted for the purpose of establishing the
          defendant’s motive, intent, plan, knowledge, absence of mistake, or lack of accident in
          furtherance of the Party Program Scheme and filing materially false and fraudulent
          Financial Disclosure Reports with the U.S. House of Representatives in 2020 and 2022,
          as charged in the superseding indictment. In particular, the government avers that the
          defendant’s false representation was designed, in part, to perpetuate misrepresentations
          about his personal background, professional background and financial profile.

         On numerous occasions, including, but not limited to, on the website of his
          congressional campaign as of October 2021, in a resume to the Nassau County
          Republican Committee and the National Republican Congressional Committee, and
          during media interviews in or about 2020 and 2022, the defendant falsely claimed to
          have previously been employed at Citigroup. To the extent that this evidence is
          admitted under Rule 404(b), it will be admitted for the purpose of establishing the
          defendant’s motive, intent, plan, knowledge, absence of mistake, or lack of accident in
          furtherance of the Party Program Scheme and filing materially false and fraudulent
          Financial Disclosure Reports with the U.S. House of Representatives in 2020 and 2022,
          as charged in the superseding indictment. In particular, the government avers that the
          defendant’s false representation was designed, in part, to perpetuate misrepresentations
          about his personal background, professional background and financial profile.

         On numerous occasions, including, but not limited to, on the website of his
          congressional campaign as of October 2021, in a resume to the Nassau County
          Republican Committee and the National Republican Congressional Committee, and
          during a media interview on or about October 1, 2020, the defendant falsely claimed to
          have previously been employed at Goldman Sachs. To the extent that this evidence is
          admitted under Rule 404(b), it will be admitted for the purpose of establishing the
          defendant’s motive, intent, plan, knowledge, absence of mistake, or lack of accident in
          furtherance of the Party Program Scheme and filing materially false and fraudulent
          Financial Disclosure Reports with the U.S. House of Representatives in 2020 and 2022,
          as charged in the superseding indictment. In particular, the government avers that the
          defendant’s false representation was designed, in part, to perpetuate misrepresentations
          about his personal background, professional background and financial profile.

         On numerous occasions, including, but not limited to, on the website of his
          congressional campaign as of October 2021, the defendant falsely claimed that
          Devolder Organization LLC was a family-run firm with approximately $80 million in
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Case 2:23-cr-00197-JS-AYS         Document 92-3        Filed 08/02/24       Page 3 of 5 PageID #:
                                           1511



          assets under management. To the extent that this evidence is admitted under Rule
          404(b), it will be admitted for the purpose of establishing the defendant’s motive,
          intent, preparation, plan, knowledge, absence of mistake, or lack of accident in
          furtherance of the Party Program Scheme and filing materially false and fraudulent
          Financial Disclosure Reports with the U.S. House of Representatives in 2020 and 2022,
          as charged in the superseding indictment. In particular, the government avers that the
          defendant’s false characterization of the character and value of Devolder Organization
          LLC was designed, in part, to perpetuate misrepresentations about his personal
          background, professional background and financial profile, as well as to conceal the
          true financial condition of the defendant and Devolder Organization LLC.

         On numerous occasions, the defendant falsely claimed that he owned or was renovating
          homes or other real property in Nassau County and Suffolk County, including in Oyster
          Bay and the Hamptons. To the extent that this evidence is admitted under Rule 404(b),
          it will be admitted for the purpose of establishing the defendant’s motive, intent, plan,
          knowledge, absence of mistake, or lack of accident in furtherance of the Party Program
          Scheme and filing materially false and fraudulent Financial Disclosure Reports with
          the U.S. House of Representatives in 2020 and 2022, as charged in the superseding
          indictment.     In particular, the government avers that the defendant’s false
          representation was designed, in part, to perpetuate misrepresentations about his
          personal background, professional background and financial profile.

         The defendant failed to file federal or state tax returns for the tax years 2020, 2021, and
          2022, despite receiving declarable income during those years from multiple sources
          including, but not limited to, Red Strategies USA, LLC and Harbor City Capital Corp.,
          as well as unemployment insurance benefits through New York State. During the same
          period, the defendant attempted to file a materially false tax return, namely, a Form
          1040 for tax year 2021, in which he falsely claimed, inter alia, to have received zero
          income during the previous year. To the extent that this evidence is admitted under
          Rule 404(b), it will be offered to establish the defendant’s motive, intent, preparation,
          plan, knowledge, absence of mistake and/or lack of accident in perpetrating the Party
          Program Scheme and filing materially false and fraudulent Financial Disclosure
          Reports with the U.S. House of Representatives in 2020 and 2022, as charged in the
          superseding indictment. In particular, the government avers that the defendant’s failure
          to file tax returns during his congressional campaigns was designed, in part, to
          perpetuate misrepresentations about his financial profile and conceal his true financial
          condition. Alternatively, this evidence will be offered to establish the defendant’s
          motive, intent, preparation, plan, knowledge, absence of mistake and/or lack of
          accident in fraudulently applying for, and receiving, unemployment insurance benefits,
          as the defendant’s failure to file tax returns was designed, in part, to conceal from
          federal authorities his income and, thus, his ineligibility for such benefits.

         During a media interview on or about May 10, 2023, the defendant falsely claimed to
          have earned approximately $400,000 in 2019, stating, in substance and in part, “I went
          from 2019 bringing in 400-and-something thousand dollars” to qualifying for
          unemployment insurance benefits. To the extent that this evidence is admitted under
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Case 2:23-cr-00197-JS-AYS        Document 92-3        Filed 08/02/24      Page 4 of 5 PageID #:
                                          1512



          Rule 404(b), it will be offered to establish the defendant’s motive, intent, preparation,
          plan, knowledge, absence of mistake and/or lack of accident in perpetrating the Party
          Program Scheme, filing a materially false and fraudulent Financial Disclosure Report
          with the U.S. House of Representatives in 2020, and fraudulently applying for, and
          receiving, unemployment insurance benefits. In particular, the government avers that
          the defendant’s exaggeration of his income in this instance was designed, in part, to
          perpetuate misrepresentations about his financial profile and conceal his true financial
          condition, while also providing a false justification for his illegal receipt of
          unemployment insurance benefits.

         On numerous occasions, including, but not limited to, in a February 8, 2021 posting on
          Twitter, the defendant falsely claimed that he and/or unspecified members of his family
          owned multiple rental properties, stating “[w]ill we landlords ever be able to take back
          possession of our property? My family and I nearing [sic] a 1 year anniversary of not
          receiving rent on 13 properties!!! The state is collecting their tax, yet we get 0 help
          from the government. We worked hard to acquire these assets…” He repeated this
          false claim in a December 26, 2022 interview with City & State, stating, in substance
          and in part, that “my family has property” as to which the defendant “helps them out
          with the books and stuff like that.” To the extent that this evidence is admitted under
          Rule 404(b), it will be offered to establish the defendant’s motive, intent, preparation,
          plan, knowledge, absence of mistake and/or lack of accident in perpetrating the Party
          Program Scheme and filing materially false and fraudulent Financial Disclosure
          Reports with the U.S. House of Representatives in 2020 and 2022, as charged in the
          superseding indictment. In particular, the government avers that the defendant’s false
          portrayal of himself and/or unspecified family members as aggrieved landlords was
          designed, in part, to perpetuate misrepresentations about his personal and professional
          background and financial profile, as well as to conceal his true financial condition.

         In a Business Deposit Account Application submitted on behalf of Devolder
          Organization LLC to Citibank on or about May 25, 2021, the defendant made numerous
          materially false representations, including falsely asserting that Devolder Organization
          LLC had an annual gross revenue of $1,500,000 and an annual net profit of $800,000.
          To the extent that this evidence is admitted under Rule 404(b), it will be offered to
          establish the defendant’s motive, intent, preparation, plan, knowledge, absence of
          mistake and/or lack of accident in filing a materially false and fraudulent Financial
          Disclosure Report with the U.S. House of Representatives in 2022, as charged in the
          superseding indictment. In particular, the government avers that the defendant’s false
          portrayal of the financial profile of Devolder Organization LLC was designed, in part,
          to perpetuate misrepresentations about his personal background, professional
          background and financial profile.

         Between approximately February 2021 and September 2022, the defendant improperly
          spent funds belonging to RISE NY PAC on personal expenses, such as personal travel,
          meals, and grocery bills, using a RISE NY PAC debit card that he possessed. To the
          extent that this evidence is admitted under Rule 404(b), it will be offered to establish
          the defendant’s motive, intent, preparation, plan, knowledge, absence of mistake and/or
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Case 2:23-cr-00197-JS-AYS      Document 92-3       Filed 08/02/24     Page 5 of 5 PageID #:
                                        1513



         lack of accident in perpetrating the Credit Card Fraud Scheme and the Party Program
         Scheme, as charged in the superseding indictment. In particular, the government avers
         that the defendant repeatedly flouted boundaries between campaign funds, PAC funds
         and personal funds by repeatedly stealing monies from putative contributors and using
         those funds for both campaign and personal expenses, including through the misuse of
         the RISE NY PAC debit card, and that his misuse of such funds was part of a plan to
         divert funds from his campaign and PAC accounts for his personal benefit, and was not
         merely the result of a mistake or accident.

                                                 Very truly yours,

                                                 BREON PEACE
                                                 United States Attorney
                                                 Eastern District of New York

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